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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    (at Lexington)

    UNITED STATES OF AMERICA,                    )
                                                 )
          Plaintiff,                             )         Civil Action No. 5: 17-406-DCR
                                                 )
    V.                                           )
                                                 )
    UNKNOWN SPOUSE OF TRINA                      )                   ORDER
    MCINTOSH,                                    )
                                                 )
          Defendant.                             )

                                     ***   ***       ***   ***
         Attorney G. Scott Hayworth was appointed to serve as warning order attorney for

Defendant Unknown Spouse of Trina McIntosh. [Record No. 9] Attorney Hayworth has

now filed his report and requested payment of fees and expenses. [Record No. 16] Being

sufficiently advised, it is hereby

         ORDERED as follows:

         1.     The Warning Order Report is hereby ACCEPTED, and attorney G. Scott

Hayworth’s motion for an award of fees and reimbursement of expenses [Record No. 16] is

GRANTED.

         2.     Attorney Hayworth is relieved of any further duties as warning order attorney

in this action. It is further ORDERED that he be allowed an attorney fee of $200.00 and

reimbursement of expenses in the amount of $27.24.




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        This 10th day of May, 2018.




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